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5                                UNITED STATES DISTRICT COURT

6
                                  MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION
7
                                                     §
8       UNITED STATES OF AMERICA, EX                 §
        REL., BARBARA BERNIER,                       §
9                                                    §      Case No.: 6:16-cv-00970-RBD-TBS
                    Plaintiff,                       §
10                                                   §
              vs.                                    §         NOTICE OF APPEARANCE
11
                                                     §
        INFILAW CORPORATION;                         §
12
        CHARLOTTE SCHOOL OF LAW, LLC,                §
13                                                   §
                    Defendants.                      §
14                                                   §
                                                     §
15                                                   §

16             LEIA V. LEITNER, ESQ., from the law firm of WATSON LLP, hereby files this
17
        notice of appearance as counsel on behalf of Relator, Barbara Bernier, in the above-
18
        captioned matter. The undersigned requests to be added as counsel of record for Relator,
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        and henceforth be served with a copy of all record activity in this proceeding.
20

21
        DATED on November 6, 2017
22

23
                                                    Respectfully submitted,
24
                                                     /s/ Leia Leitner
25                                                   Coleman W. Watson, Esq.



         NOTICE OF APPEARANCE- 1                                               WATSON LLP
         Case No.: 6:16-cv-00970-RBD-TBS                                  189 S. Orange Avenue, Suite 810
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                                                                     Tel: (407) 377-6634 / Fax: (407) 377-6688
     Case 6:16-cv-00970-RBD-TBS Document 46 Filed 11/06/17 Page 2 of 3 PageID 376



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13
                                          Attorneys for Relator,
14
                                          BARBARA BERNIER
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        NOTICE OF APPEARANCE- 2                                    WATSON LLP
        Case No.: 6:16-cv-00970-RBD-TBS                       189 S. Orange Avenue, Suite 810
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     Case 6:16-cv-00970-RBD-TBS Document 46 Filed 11/06/17 Page 3 of 3 PageID 377



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2
                                    CERTIFICATE OF SERVICE

3               I HEREBY CERTIFY that on November 6, 2017, pursuant to Fed. R. Civ. P. 5, I
        electronically filed the foregoing with the Clerk of Court by using the CM/ECF system,
4       which will send an electronic notice to the following lead counsel of record in this
        proceeding:
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17                                                 /s/ Leia Leitner
                                                   Leia V. Leitner, Esq.
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         NOTICE OF APPEARANCE- 3                                            WATSON LLP
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